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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DAMIAN LAMARK, ET AL.,                           §
                                                 §
       Plaintiffs,                               §
                                                 §
vs.                                              §    CIVIL ACTION NO. 4:18-cv-01887
                                                 §
U.S. BANK, N.A.,                                 §
                                                 §
       Defendant.                                §


                     JOINT MOTION TO DISMISS WITH PREJUDICE


       Plaintiffs Damian Lamark and Brian A. Brewer-Trustee ("Plaintiffs") and Defendant U.S.

Bank National Association ("Defendant") (collectively, the "Parties") file this Joint Motion to

Dismiss with Prejudice (the "Joint Motion").

       The Parties jointly request that the Court enter the attached Agreed Order of Dismissal

with Prejudice, dismissing with prejudice all claims that Plaintiffs asserted, or could have

asserted, against Defendant in this lawsuit. The Parties also request that the Court enter the

attached Final Judgment.     The Parties further request that all taxable costs, expenses, and

attorney fees be borne by the party incurring same.

       WHEREFORE, PREMISES CONSIDERED, the Parties respectfully request that the

Court grant their Joint Motion, dismiss this action with prejudice, enter the Agreed Order of

Dismissal with Prejudice and Final Judgment submitted herewith, and order that all taxable

costs, expenses, and attorney fees be borne by the party incurring same.




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                                            Respectfully submitted,

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                                            ATTORNEYS FOR DEFENDANT

                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served upon all counsel of record via the Court's CM/ECF system pursuant to the Federal
Rules of Civil Procedure on this 21st day of September 2018.


                                             /s/ Marc D. Cabrera
                                            Counsel for Defendant




JOINT MOTION                                                                             PAGE 2
